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8                            UNITED STATES DISTRICT COURT
9                       CENTRAL DISTRICT OF CALIFORNIA
10

11   JOHN HO, an individual                     Case No.: 2:25-cv-0574
12              Plaintiff,                      COMPLAINT FOR
13        vs.
                                                   (1) VIOLATION OF THE UNRUH
14   CARNATION19, LP, a Delaware limited               CIVIL RIGHTS ACT
     partnership
15                                                     (CALIFORNIA CIVIL CODE
                Defendants.                            §§ 51, 52);
16
                                                   (2) VIOLATIONS OF THE
17                                                     AMERICANS WITH
18                                                     DISABILITIES ACT OF 1990

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1                                                I.
                                              SUMMARY
2

3            1.    This is a civil rights action by plaintiff John Ho (“Plaintiff”) for
4    discrimination at the building, structure, facility, complex, property, land,
5    development, and/or surrounding shopping center bearing the legal address of 2532 S
6    Azusa Ave, West Covina, CA 91792, Los Angeles County, and encompassing the
7    entire exterior parking lot identified as APN 8730-004-029 (the “Property”). Plaintiff
8    frequents the area for dining, shopping and entertainment as the area has many
9    popular eateries and is located approximately 25 minutes from his home.
10           2.    Plaintiff seeks damages, injunctive and declaratory relief, attorney’s fees
11   and costs pursuant to the Americans with Disabilities Act of 1990 (42 U.S.C. §§
12   12101, et seq.) and related California statutes 1 against the owner of the property
13   CARNATION19, LP, a Delaware limited partnership (“Defendant”).
14                                                   II.
15                                         JURISDICTION
16           3.    This Court has original jurisdiction under 28 U.S.C. §§ 1331 and 1343
17   for ADA claims.
18           4.    Supplemental jurisdiction for claims brought under parallel California
19   law – arising from the same nucleus of operative facts – is predicated on 28 U.S.C §
20   1367.
21           5.    Plaintiff’s claims are authorized by 28 U.S.C. §§ 2201 and 2202.
22                                               III.
23                                              VENUE
24           6.    All actions complained of herein take place within the jurisdiction of the
25   United States District Court, Central District of California, and venue is invoked
26   pursuant to 28 U.S.C. § 1391(b), (c)
27                                               IV.
28   1
      Plaintiff is not currently asserting a cause of action under California Civil Code § 55, but may
     amend his complaint at a later time upon discovery of facts which give rise to such a claim.
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1
                                               PARTIES
2
           7.       On information and belief, Plaintiff alleges that Defendant is or was at
3
     the time of the incident, the owner, operator, lessor and/or lessee of the Property, and
4
     consist of a person (or persons), firm, company, and/or corporation.
5
           8.       Plaintiff is a T-12 paraplegic, and as a result is unable to walk or stand,
6
     and thus requires a use of a wheelchair at all times when traveling in public. Plaintiff
7
     drives a car with modified hand controls to accommodate his disability. Plaintiff also
8
     utilizes a California disabled parking placard. Plaintiff is “physically disabled” as
9
     defined by all applicable California and United States laws, and a member of the
10
     public whose rights are protected by these laws. Plaintiff is a resident of Los Angeles
11
     County, California.
12
                                                 V.
13
                                                FACTS
14
           9.       On July 3, 2024, Plaintiff patronized the Property. The Property is a
15
     sales or retail establishment, open to the public, which is intended for nonresidential
16
     use and whose operation affects commerce.
17
           10.      Plaintiff visited the Property and encountered barriers (both physical and
18
     intangible) that interfered with – if not outright denied – Plaintiff’s ability to use and
19
     enjoy the goods, services, privileges and accommodations offered at the facility. To
20
     the extent known by Plaintiff, the barriers at the Property included, but are not limited
21
     to the following:
22

23               a. Parking spaces designated as accessible and accompanying access aisles
24                  have slopes and/or cross slopes that exceed 2.0%. Without a level
25                  parking space, it is difficult for Plaintiff to unload/transfer from a vehicle
26                  as his wheelchair rolls.
27               b. To access the sidewalks and stores, Plaintiff must traverse up a built-up
28                  curb ramp that is too steep. To the extent that the curb ramp is intended
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1                   to be a ramp, it does not have the necessary railings for Plaintiff to safely
2                   maneuver up and down.
3                c. Accessible parking spaces are not properly marked and maintained. For
4                   example, pavement marking is severely faded making it difficult for
5                   Plaintiff to determine which spaces will accommodate Plaintiff’s
6                   disability. Additionally, there is loose gravel and broken pavement
7                   within accessible parking spaces and access aisles. These conditions
8                   make it difficult for Plaintiff as small loose pieces of gravel can get
9                   caught in Plaintiff’s wheelchair causing him to lose balance and tip over.
10               d. There are no accessible pedestrian routes connecting the various
11                  buildings on the same property site. This makes it difficult for Plaintiff
12                  when trying to travel throughout the Property and patronize other
13                  buildings and stores located at the Property. Moreover, [athways are too
14                  narrow and steep, thus making it difficult and dangerous for Plaintiff
15                  when traveling throughout the Property on his wheelchair.
16
           11.      These barriers to access are listed without prejudice to Plaintiff citing
17
     additional barriers to access after inspection by Plaintiff’s access consultant, per the
18
     9th Circuits standing standards under Doran v. 7-Eleven, Inc. 524 F.3d 1034 (9th Cir.
19
     2008). These barriers prevented Plaintiff from enjoying full and equal access to the
20
     Property.
21
           12.      Plaintiff thus experienced difficulty and discomfort as a result of the
22
     accessible barriers he encountered. Although he would like to return to the Property
23
     to patronize the convenience store at the Property, he continues to be deterred from
24
     visiting the Property because of the future threats of injury created by these barriers.
25
     Plaintiff often frequents the area as he enjoys the shops, beaches and dining offered in
26
     and around West Covina. Plaintiff would return to the Property once the barriers have
27
     been corrected because there are several stores located at the Property which he would
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1
     like to patronize. Within 6 months of the correction of any barriers, Plaintiff would
2
     return to the Property to not only patronize the stores on the Property, but to also
3
     ensure that the barriers have been remedied and/or removed.
4
              13.   On information and belief, Plaintiff alleges that Defendant knew that
5
     these elements and areas of the Property were inaccessible, violate state and federal
6
     law, and interfere with (or deny) access to the physically disabled. Moreover,
7
     Defendant has the financial resources to remove these barriers from the Property
8
     (without much difficult or expense), and make the Property accessible to the
9
     physically disabled. To date, however, the Defendant refuses to remove those
10
     barriers.
11
              14.   On information and belief, Plaintiff alleges that at all relevant times,
12
     Defendant has possessed and enjoyed sufficient control and authority to modify the
13
     Property to remove impediments to wheelchair access and to comply with the
14
     Americans with Disabilities Act Accessibility Guidelines and Title 24 regulations.
15
     Defendant has not removed such impediments and have not modified the Property to
16
     conform to accessibility standards.
17
        VI.      FIRST CAUSE OF ACTION: VIOLATION OF CALIFORNIA LAW
18
           INCLUDING: THE UNRUH ACT, CIVIL CODE §§ 51, 52 AND THE
19
      AMERICANS WITH DISABILITIES ACT AS INCORPORATED BY CIVIL
20
                                        CODE SECTION 51(f)
21
              15.   Plaintiff incorporates the allegations contained in paragraphs 1 through
22
     14 for this claim and incorporates them herein.
23
              16.   At all times relevant to this complaint, California Civil Code § 51 has
24
     provided that physically disabled persons are free and equal citizens of the state,
25
     regardless of disability or medical condition:
26
              All persons within the jurisdiction of this state are free and equal, and
27
              no matter what their sex, race, color, religion, ancestry, national
28
              origin, disability, or medical condition are entitled to the full and
                                                    4
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             equal accommodations, advantages, facilities, privileges, or services
2
             in all business establishments of every kind whatsoever. Cal. Civ.
3
             Code § 51(b).
4
             17.    California Civil Code § 52 provides that the discrimination against
5
     Plaintiff on the basis of his disabilities constitutes a violation of the anti-
6
     discrimination provisions of §§ 51 and 52.
7
             18.   Defendant’s discrimination constitutes a separate and distinct violation of
8
     California Civil Code § 52 which provides that:
9
             Whoever denies, aids or incites a denial, or makes any discrimination
10
             or distinction contrary to section 51, 51.5 or 51.6 is liable for each and
11
             every offense for the actual damages, and any amount that may be
12
             determined by a jury, or a court sitting without a jury, up to a
13
             maximum of three times the amount of actual damage but in no case
14
             less than four thousand dollars ($4,000) and any attorney’s fees that
15
             may be determined by the court in addition thereto, suffered by any
16
             person denied the rights provided in Section 51, 51.5 or 51.6.
17
             19.   Plaintiff continues to be deterred from visiting the Subject Property based
18
     upon the existence of the accessible barriers. In addition to the instance of
19
     discrimination occurring in July 2024, Plaintiff is entitled to $4,000.00 in statutory
20
     damages for each additional occurrence of discrimination under California Civil Code
21
     § 52.
22
             20.   Any violation of the Americans with Disabilities Act of 1990 (as pled in
23
     the Third Cause of Action) constitutes a violation of California Civil Code § 51(f)
24
     thus independently justifying an award of damages and injunctive relief pursuant to
25
     California law. Per § 51(f), “[a] violation of the right of any individual under the
26
     Americans with Disabilities Act of 1990 … shall also constitute a violation of this
27
     section.”
28
             21.   The actions and omissions of Defendant as herein alleged constitute a
                                                5
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1
     denial of access to and use of the described public facilities by physically disabled
2
     persons within the meaning of California Civil Code §§ 51 and 52. As a proximate
3
     result of Defendant’s action and omissions Defendant has discriminated against
4
     Plaintiff in a violation of Civil Code §§ 51 and 51.
5
                                                VII.
6
      SECOND CAUSE OF ACTION: VIOLATION OF THE AMERICANS WITH
7
                   DISABILITIES ACT OF 1990 (42 USC §§ 12101 et seq.)
8
           22.    Plaintiff incorporates the allegations contained in paragraphs 1 through
9
     21 for this claim and incorporates them herein.
10
           23.    As part of the Americans with Disabilities Act of 1990 (“ADA”),
11
     Congress passed “Title III – Public Accommodations and Services Operated by
12
     Private Entities.” 42 U.S.C. § 12181 et seq. The Property is one of the “private
13
     entities” which are considered “public accommodations” for purposes of this title,
14
     which includes any “restaurant, bar, or other sales or rental establishment serving food
15
     or drink.” § 301(7)(B).
16
           24.    The ADA states that “[n]o individual shall be discriminated against on
17
     the basis of disability in the full and equal enjoyment of the goods, services, facilities,
18
     privileges, advantages, or accommodations of any place of public accommodation by
19
     any person who owns, leases, or leases to, or operates a place of public
20
     accommodation.” 42 U.S.C. § 12182.
21
           25.    The acts and omissions of Defendant set forth herein were in violation of
22
     Plaintiff's rights under the ADA and the regulations promulgated thereunder, 28 CFR
23
     Part 36 et seq.
24
           26.    On information and belief, Plaintiff alleges that the Property was
25
     constructed or altered after January 26, 1993 thus triggering requirements for removal
26
     of barriers to access for disabled persons under § 303 of the ADA. Further on
27
     information and belief, Plaintiff alleges that removal of each of the barriers
28
     complained of by Plaintiff as hereinabove alleged, were at all times herein mentioned
                                               6
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1
     "readily achievable" under the standards §§ 30 l and 302 of the ADA. As noted
2
     hereinabove, removal of each and every one of the architectural barriers complained
3
     of herein were also required under California law. In the event that removal of any
4
     barrier is found to be "not readily achievable," Defendant still violated the ADA, per§
5
     302(b )(2)(A)(v) by failing to provide all goods, services, privileges, advantages and
6
     accommodations through alternative methods that were readily achievable.
7
           27.    On information and belief, as of the date of Plaintiff’s encounter at the
8
     Property and as of the filing of this Complaint, the Defendant denies and continues to
9
     deny full and equal access to Plaintiff and to other disabled persons, including
10
     wheelchair users, in other respects, which violate plaintiff's rights to full and equal
11
     access and which discriminate against Plaintiff on the basis of his disability, thus
12
     wrongfully denying to plaintiff the full and equal enjoyment of the goods, services,
13
     facilities, privileges, advantages and accommodations, in violation of§§ 302 and 303
14
     of the ADA. 42 USC§§ 12182 and 12183.
15
           28.    On information and belief, Defendant has continued to violate the law
16
     and deny the rights of Plaintiff and other disabled persons to access this public
17
     accommodation since on or before Plaintiff's encounters, as previously noted.
18
     Pursuant to the ADA, § 308, 42 USC 12188 et seq., Plaintiff is entitled to the
19
     remedies and procedures set forth in§ 204(a) of the Civil Rights Act of 1964, 42 USC
20
     2000(a)-3(a), as Plaintiff is being subjected to discrimination on the basis of disability
21
     in violation of the ADA or has reasonable grounds for believing that he is about to be
22
     subjected to discrimination. Pursuant to § 308(a)(2), "In cases of violations of§ 302(b
23
     )(2)(A)(iv) and § 303(a) ... injunctive relief shall include an order to alter facilities to
24
     make such facilities readily accessible to and usable by individuals with disabilities to
25
     the extent required by this title."
26
           29.    Plaintiff seeks relief pursuant to remedies set forth in§ 204(a) of the Civil
27
     Rights Act of 1964, 42 USC 2000(a)-3(a), and pursuant to Federal Regulations
28
     adopted to implement the Americans with Disabilities Act of 1990. Plaintiff is a
                                             7
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1
     qualified disabled person for purposes of § 308(a) of the ADA who is being subjected
2
     to discrimination on the basis of disability in violation of Title III and who has
3
     reasonable grounds for believing he will be subjected to such discrimination each time
4
     that he may attempt to use the property and premises.
5
                                               PRAYER
6
              WHEREFORE, Plaintiff prays that this court award damages and provide relief
7
     as follows:
8
           1. Issue a preliminary and permanent injunction directing Defendant as current
9
     owner, operator, lessor, and/or lessee of the property and premises to modify the
10
     above described property and premises and related facilities so that each provides full
11
     and equal access to all persons, including but not limited to persons with physical
12
     disabilities who use wheelchairs, and issue a preliminary and permanent injunction
13
     directing Defendant to provide and maintain facilities usable by plaintiff and similarly
14
     situated persons with disabilities, and which provide full and equal access, as required
15
     by law, including appropriate changes in policy;
16
           2. Retain jurisdiction over the Defendant until such time as the Court is satisfied
17
     that Defendant unlawful policies, practices, acts and omissions, and maintenance of
18
     inaccessible public facilities as complained of herein no longer occur, and cannot
19
     recur;
20
           3. Award to Plaintiff all appropriate damages, including but not limited to
21
     statutory damages, general damages and treble damages in amounts within the
22
     jurisdiction of this Court, all according to proof;
23
           4. Award to Plaintiff all reasonable statutory attorney fees, litigation expenses, and
24
     costs of this proceeding as provided by law;
25

26   ///
27   ///
28

                                                   8
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1
       5. Award to Plaintiff prejudgment interest pursuant to California Civil 17 Code§
2
     329
3
       6. Grant such other and further relief as this Court may deem just and proper.
4

5                                       ASCENSION LAW GROUP, PC

6          DATE: June 24, 2025

7                                                 /s/Pamela Tsao

8                                      Pamela Tsao, attorney for Plaintiff

9                                                   JOHN HO

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